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   Docusign       1 of
            Envelope ID: 1           Case: 24-3255, 02/03/2025, DktEntry: 15.1, Page 1 of 1
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                                             UNITED STATES COURT OF APPEALS
                                                   FOR THE SECOND CIRCUIT

                                    CIVIL APPEAL TRANSCRIPT INFORMATION (FORM D-P)
                                                 FOR PRO SE APPELLANTS

     A PRO SE APPELLANT MUST FILE THE ORIGINAL OF THIS FORM WITH THE CLERK OF THE SECOND CIRCUIT IN ALL
     CIVIL APPEALS WITHIN 14 CALENDAR DAYS AFTER FILING A NOTICE OF APPEAL.

                                                 THIS SECTION MUST BE COMPLETED BY APPELLANT

      CASE TITLE                                            DISTRICT                                              DOCKET NUMBER
                                                           S.D.N.Y.                                              23-cv-06881-JGK-VF
     D.G. Sweigert
                                                           JUDGE                                                  APPELLANT
     v                                                     John G. Koeltl

                                                            COURT REPORTER                                        PRO SE APPELLANT
     Jason Goodman                                         N/A                                                   D.G. Sweigert


      Check the applicable provision:                            PROVIDE A DESCRIPTION, INCLUDING DATES, OF THE PROCEEDINGS
                                                                 FOR WHICH A TRANSCRIPT IS REQUIRED (i.e., oral argument, order from the
       9 I am ordering a transcript.                             bench, etc.)

       9 I am not ordering a transcript
         ✔



             Reason for not ordering a transcript:

                9 Copy is already available
                9 No transcribed proceedings
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                9 Other (Specify in the space
      below):                                                    METHOD OF PAYMENT                        9 Funds                9 CJA Voucher (CJA 21)
       INSTRUCTIONS TO COURT REPORTER:                           DELIVER TRANSCRIPT TO: (APPELLANT’S NAME, ADDRESS, TELEPHONE)

       9 PREPARE TRANSCRIPT OF
             PRE-TRIAL PROCEEDINGS

       9 PREPARE TRANSCRIPT OF TRIAL
       9 PREPARE TRANSCRIPT OF
             OTHER POST-TRIAL PROCEEDINGS

       9 OTHER (Specify in the space below):

      I certify that I have made satisfactory arrangements with the court reporter for payment of the cost of the transcript.
      See FRAP 10(b). I understand that unless I have already ordered the transcript, I shall order its preparation at the time
      required by FRAP and the Local Rules.
      APPELLANT’S SIGNATUR E                                     DATE                           2/3/2025
     D. G. Sweigert                                            02/02/2025
      C O U R T R EPO R TER AC K N O W LED GM EN T: This section is to be completed by the court reporter. R eturn one copy to the C lerk of the Second C ircuit.




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